     Case 1:17-cv-00666-AWI-SKO Document 5 Filed 06/12/17 Page 1 of 1

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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   HUSSEIN OSMAN ALI,                                No. 1:17-cv-00666-AWI-SKO
12                       Plaintiff,
13            v.                                       ORDER DIRECTING THE CLERK OF THE
                                                       COURT TO CLOSE THE CASE
14   ONE MAIN FINANCIAL SERVICES,
     INC.,                                             (Doc. 4)
15
                         Defendant.
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18            On June 8, 2017, the parties filed a joint stipulation dismissing the action with prejudice.

19   (Doc. 4.) In light of the parties’ stipulation, this action has been terminated, see Fed. R. Civ. P.

20   41(a)(1)(A)(ii); Wilson v. City of San Jose, 111 F.3d 688, 692 (9th Cir. 1997), and has been

21   dismissed with prejudice. Accordingly, the Clerk of the Court is directed to close this case.

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     IT IS SO ORDERED.
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24   Dated:        June 9, 2017                                    /s/   Sheila K. Oberto             .
                                                        UNITED STATES MAGISTRATE JUDGE
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